         Case 2:18-cv-00420-NBF Document 17 Filed 05/24/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


LISA INZINGA,                                     )    Case No. 2:18-cv-00420-NBF
                                                  )
                  Plaintiff,                      )    Judge Nora Barry Fischer
                                                  )
            v.                                    )
                                                  )    Electronically Filed
CITIMORTGAGE, INC.,                               )
                                                  )
                  Defendant.                      )


                 REPORT OF COUNSEL REGARDING ADR SCHEDULING

       Pursuant to Paragraph (e) of this Court’s Order Referring Case to Alternative Dispute

Resolution (Dkt. 16), counsel for CitiMortgage, Inc. reports that they have met and conferred

with the appointed neutral, Carole Katz, and with counsel for Lisa Inzinga, Jeffrey Suher,

regarding the scheduling of mediation. Counsel reports as follows:

       1) The mediation has been scheduled to commence at 10 a.m. on July 17, 2018.

       2) The mediation shall take place at the offices of K&L Gates LLP, 210 Sixth Avenue,
          Pittsburgh, Pennsylvania, 15222.

       3) The following principals for each party, with full settlement authority, plan to attend:
                  For Plaintiff:      Lisa Inzinga, Plaintiff
                  For Defendant:      Jason Whitcomb, Assistant General Counsel of Citibank N.A.

       4) There are no relevant insurance representatives that shall be required to attend.

       The court shall be promptly noticed of any changes to the date or attendees of the

scheduled mediation.


Dated: May 24, 2018                                   Respectfully submitted,

                                                      /s/ Erin Fleury
                                                      Erin Fleury (PA 320545)
                                                      K&L Gates LLP (Firm # 148)
                                                      K&L Gates Center
Case 2:18-cv-00420-NBF Document 17 Filed 05/24/18 Page 2 of 2



                                   210 Sixth Avenue
                                   Pittsburgh, PA 15222-2613
                                   Telephone: (412) 355-6500
                                   Fax: (412)355-6501
                                   Erin.Fleury@klgates.com

                                   David E. Fialkow (MA 666192)
                                   Admitted Pro Hac Vice
                                   K&L Gates LLP (Firm # 148)
                                   State Street Financial Center
                                   One Lincoln Street
                                   Boston, MA 02111
                                   Telephone: (617) 261-3100
                                   Facsimile: (617) 261-3175
                                   David.Fialkow@klgates.com

                                   Counsel for Defendant CitiMortgage, Inc.




                             -2-
